          Case 1:13-cr-00362-AWI-BAM Document 494 Filed 06/13/16 Page 1 of 8




 1   Andrea R. St. Julian, Bar No. 134919
     12707 High Bluff Dr., Ste. 200
 2   San Diego, CA 92130
     Tel. (858) 792-6366
 3   Fax: (858) 792-6069
     astjulian@san.rr.com
 4
     Attorney for Appellant-Defendant,
 5   Leroy Donovan Combs
 6
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                                 FOR THE EASTERN DISTRICT
 9
10
11    UNITED STATES OF AMERICA,               ) U.S.D.C. No. 1:13cr00362AWIBAM
                                              )
12        Plaintiff,                          ) Eastern District of California,
                                              ) Fresno
13    v.                                      )
                                              ) [U.S.C.A. No. 1610102]
14    LEROY DONOVAN COMBS,                    )
                                              )
15        Defendant.                          ) DEFENDANT/APPELLANT'S
                                              ) UNOPPOSED APPLICATION FOR
16                                            ) ORDER TO STAY SELF-SURRENDER
                                              ) DATE PENDING ADJUDICATION OF
17                                            ) COURT OF APPEAL BAIL MOTION;
                                              ) PROPOSED ORDER; DECLARATION
18                                            ) OF
                                              ) COUNSEL; CERTIFICATE OF SERVICE
19                                            )
           Pursuant to Ninth Circuit Rule 9-1.2(e),Defendant/Appellant,   LeRoy Combs,
                                              )
20                                            ) this court issue an order recognizing the
     through his appointed counsel, requests that
21   stay of Mr. Combs=s June 9, 2016 self-surrender date. This stay came into effect on June 4,
22   2016 when Mr. Combs filed a motion for bail pending appeal with the Ninth Circuit
23   Court of Appeals.
24
25
26
27
28
          Case 1:13-cr-00362-AWI-BAM Document 494 Filed 06/13/16 Page 2 of 8




 1         Mr. Combs further requests that, in the event the Court of Appeals denies his
 2   request for bail pending appeal, his self-surrender
 3    date will be extended to 14 days following the denial, 2:00 p.m. The government does
 4   not oppose any portion of this application, including the 14-day request. This
 5   application is based on the attached memorandum of law and facts and declaration of
 6   counsel.
 7
 8   Dated: June 13, 2016                     Respectfully submitted,
 9
                                               /s/ Andrea R. St. Julian
10                                            Andrea R. St. Julian
                                              Attorney for Defendant-Appellant
11                                            Leroy Donovan Combs
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
                                                                         Application for Order to
28                                               2                      Stay Self-Surrender Date
           Case 1:13-cr-00362-AWI-BAM Document 494 Filed 06/13/16 Page 3 of 8




 1                          MEMORANDUM OF LAW AND FACTS
 2          A.      Relevant Factual and Procedural History
 3          On September 26, 2013, the government filed an indictment against Leroy
 4   Donovan Combs alleging he made False Claims Against the United States in violation of
 5   18 U.S.C. ' 287. (Doc. 1, pp. 1, 5-61) Following the filing of the indictment, this court
 6   issued a warrant for Mr. Combs, and he was arrested on October 4, 2013. (Doc. 368, p. 5)
 7   At Mr. Combs= arraignment/detention hearing on the same date, this court allowed Mr.
 8   Combs to remain free based on a personal recognizance bond. (Doc. 22, p. 1; Doc. 217, p.
 9   15)
10          The indictment was adjudicated by a trial that ended on November 10, 2015. The
11   jury found Mr. Combs guilty of Count Sixteen of the indictment charging False Claims
12   Against the United States, in violation of 18 U.S.C. ' 287. (Doc. 343, p. 20)
13          On March 7, 2016, the district court sentenced Mr. Combs to 45 months of
14   incarceration to be followed by 24 months of supervised release. (Doc. 407, pp. 2-3) In so
15   doing, this court allowed Mr. Combs to remain on bail with a self-surrender date of May
16   9, 2016 . (Doc. 407, p. 2) On March 8, 2016, Mr. Combs filed a timely notice of appeal.
17   (Doc. 397, p. 1)
18          On April 25, 2016, this court granted Mr. Combs=s request to continue his
19   self-surrender date to June 8, 2016. (Doc. 462) On that same
20   date, Mr. Combs filed with the district court a motion for bail pending
21
22
23
24
            1
25              Page numbers reference the ECF page number.
26
27
                                                                           Application for Order to
28                                                3                       Stay Self-Surrender Date
           Case 1:13-cr-00362-AWI-BAM Document 494 Filed 06/13/16 Page 4 of 8




 1   appeal. (Doc. 464, p. 1) On May 9, 2016, the district court denied the bail motion. (See
 2   Docket entry 477) It also extended Mr. Combs=s self-surrender date to June 9, 2016. (See
 3   Docket entry 477)
 4             On June 4, 2016, Mr. Combs filed a motion for bail pending appeal with the Ninth
 5   Circuit Court of Appeals. The Ninth Circuit has not yet ruled on the motion. (Decl. at &
 6   2, p.1)
 7
 8             B.    Pursuant to Ninth Circuit Rule 9-1.2 (E), Mr. Combs=s Self-surrender
 9                   Date Was Automatically Stayed When He Filed a Motion for Bail
10                   Pending Appeal with the Court of Appeals.
11             Mr. Combs filed a motion for bail pending appeal with the Ninth Circuit Court of
12   Appeals on June 4, 2016. (Decl. at & 2, p.1) As a result of that filing, Mr. Combs=s
13   self-surrender date of June 9, 2016 2 was automatically stayed. In this regard, Ninth
14   Circuit Rule 9-1.2 (e) states AIf the appellant is on bail at the time the [bail] motion is filed
15   in this Court, that bail will remain in effect until the Court rules on the motion.@ Thus,
16   this court is required to recognize the stay.
17
18             C.    Mr. Combs=s Request to Extend His Self-surrender Date for 14 Days
19                   Following a Denial of His Motion for Bail Pending Appeal Is Based on
20                   Good Cause.
21             In the event the Court of Appeals denies his request for bail pending appeal, the
22   stay of Mr. Combs=s self-surrender date will dissolve and Mr. Combs will be required to
23   surrender. Because Mr. Combs has no way of knowing when the Court of Appeals will
24   rule on his motion, the unanticipated lifting of the stay will cause him great difficulty
25   because it will require him to surrender immediately without allowing him time to make
26   final preparations. In this regard, Mr. Combs is a 75 year old widower who lives alone.
27
                                                                              Application for Order to
28                                                   4                       Stay Self-Surrender Date
           Case 1:13-cr-00362-AWI-BAM Document 494 Filed 06/13/16 Page 5 of 8




 1   (Decl. at & 4, p.2) Because he does not have anyone to rely on, he will need at least 14
 2   days to close down his residence and make arrangements regarding his personal
 3   property. (Decl. at & 4, p.2) For these reasons, Mr. Combs requests that his
 4   self-surrender date be extend 14 days following a denial of his bail motion. The
 5   government does not oppose Mr. Combs=s request for a 14-day extension of his
 6   self-surrender date.(Decl. at & 3, p.1-2)
 7
 8                                         CONCLUSION
 9          Based on the foregoing, Mr. Combs respectfully requests that this Court issue an
10   order recognizing the stay of his June 9, 2016 self-surrender date. This stay came into
11   effect on June 4, 2016 when Mr. Combs filed a motion for bail pending appeal with the
12   Ninth Circuit Court of Appeals.
13          Mr. Combs further requests that, in the event the Court of Appeals denies his
14   request for bail pending appeal, his self-surrender date will be extended to 14 days
15   following the denial, 2:00 p.m.
16
     Dated: June 11, 2016                        Respectfully submitted,
17
18                                                /s/ Andrea R. St. Julian
                                                 Andrea R. St. Julian
19                                               Attorney for Defendant-Appellant
                                                 Leroy Donovan Combs
20
21
22
23
24
25
26
27
                                                                            Application for Order to
28                                                 5                       Stay Self-Surrender Date
           Case 1:13-cr-00362-AWI-BAM Document 494 Filed 06/13/16 Page 6 of 8




                         IN THE UNITED STATES DISTRICT COURT
 1
                                 FOR THE EASTERN DISTRICT
 2
 3
 4    UNITED STATES OF AMERICA,                 )   U.S.D.C. No. 1:13cr00362AWIBAM
                                                )
 5         Plaintiff,                           )   Eastern District of California
                                                )
 6    v.                                        )   [U.S.C.A. No. 1610103]
                                                )
 7    LEROY DONOVAN COMBS,                      )   DECLARATION OF COUNSEL
                                                )
 8         Defendant.                           )
                                                )
 9                                              )
                                                )
10                                              )
                                                )
11
12          I, ANDREA RENEE ST. JULIAN, under penalty of perjury, declare as follows:
13
14          1.     I am an attorney licensed to practice law in the State of California and in
15   the United States District Court for the Eastern District of California. I am also admitted
16   to practice before the United States Court of Appeals for the Ninth Circuit. Unless
17   otherwise stated, I have personal knowledge of the facts stated herein, and if called upon
18   to do so, could and would competently testify to the following from my personal
19   knowledge.
20          2.     On June 4, 2016, I filed a motion for bail pending appeal with the Ninth
21   Circuit Court of Appeals on behalf of Mr. Combs. The Ninth Circuit has not yet ruled on
22   the motion.
23
24          3. On June 10, 2016, I contacted counsel for the government, Grant Rabenn,
25   regarding the government=s position on Mr. Combs=s requests made in this application.
26   Mr. Rabenn informed me that the government had no opposition to the stay of Mr.
27
                                                                           Application for Order to
28                                                  1                     Stay Self-Surrender Date
          Case 1:13-cr-00362-AWI-BAM Document 494 Filed 06/13/16 Page 7 of 8




 1   Combs=s self-surrender date pending the adjudication of his motion for bail pending
 2   appeal filed with the Court of Appeals. Mr. Rabenn also indicated that the government
 3   had no opposition to Mr. Combs=s request to extend his self-surrender date for 14 days
 4   following a denial of the motion by the Court of Appeals.
 5
 6          4.     I am informed and believe that Mr. Combs is a 75 year old
 7   widower who lives alone. I am further informed and believe that, in the
 8   event this bail motion is denied, Mr. Combs will need at least 14 days
 9   following the denial of the bail motion to close down his residence and
10   make arrangements regarding his personal property.
11
12          I declare under penalty of perjury under the laws of the United
13   States that the foregoing is true and correct and that this declaration was
14   executed at San Diego, California on June 13, 2016.
15
     Dated: June 13, 2016                              /s/ Andrea R. St. Julian
16                                                    Andrea R. St. Julian,
                                                           Declarant
17
18
19
20
21
22
23
24
25
26
27
                                                                         Application for Order to
28                                                2                     Stay Self-Surrender Date
          Case 1:13-cr-00362-AWI-BAM Document 494 Filed 06/13/16 Page 8 of 8




 1                        IN THE UNITED STATES DISTRICT COURT
 2                               FOR THE EASTERN DISTRICT
 3
 4    UNITED STATES OF AMERICA,      ) U.S.D.C. No. 1:13cr00362AWIBAM
                                     )
 5       Plaintiff,                  ) Eastern District of California
                                     )
 6    v.                             )
                                     ) [U.S.C.A. No. 1610103]
 7    LEROY DONOVAN COMBS,           )
                                     )
 8       Defendants.                 )
                                     ) ORDER STAYING AND EXTENDING
 9                                   ) THE DEFENDANT'S
                                     ) SELF-SURRENDER DATE
10                                   )
                                     )
11                                   )
          PURSUANT TO NINTH CIRCUIT ))RULE 9-1.2(E), IT IS HEREBY ORDERED that
12
     the defendant's self-surrender date of June 9, 2016 is stayed until the Ninth Circuit
13
     Court of Appeals rules on Mr. Combs's motion for bail pending appeal.
14
15
              GOOD CAUSE APPEARING, IT IS FURTHER ORDERED that, in the event the
16
     Court of Appeals denies Mr. Combs's request for bail pending appeal, his self-surrender
17
     date will be extended to 14 days following the denial, and Mr. Combs shall surrender to
18
     the United States Marshal’s Office in Fresno, California by 2:00 p.m. on that date. All
19
     other conditions of release shall remain in full force and effect until further order of the
20
     court.
21
22
     IT IS SO ORDERED.
23
     Dated:     June 13, 2016
24                                                SENIOR DISTRICT JUDGE
25
26
27
28
